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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                             __________ District of __________


          Electronic Privacy Information Center                )
                             Plaintiff                         )
                                v.                             )      Case No. 1:19-cv-00810-RBW
           United States Department of Justice                 )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

        Electronic Privacy Information Center                                                                          .


Date:          04/01/2019                                                                /s Alan Jay Butler
                                                                                         Attorney’s signature

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